Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 1 of 23 PageID: 788




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

  SHIRLEY CRAWFORD, MATTHEW                    Civil Action No. 2:22-cv-02828
  JORDAN, MELISSA ALEJANDRO,                   (MCA)(AME)
  NICOLA SOBERS, JANICE BUTLER,
  PAULINE DION, LISA SAGHY, and                        Electronically Filed
  RICHARD ANGEMI, individually and on
  behalf of all those similarly situated,
                                                      ORAL ARGUMENT
              Plaintiffs,                               REQUESTED

  v.

  SAMSUNG ELECTRONICS AMERICA,
  INC., and SAMSUNG ELECTRONICS CO.,
  LTD.,

              Defendants.


    DEFENDANTS’ REPLY BRIEF IN FURTHER SUPPORT OF MOTION TO
             DISMISS SECOND AMENDED COMPLAINT


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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 2 of 23 PageID: 789




                                     TABLE OF CONTENTS

 I.    PRELIMINARY STATEMENT .....................................................................1

 II.   PLAINTIFFS FAIL TO REBUT THE MOTION’S ARGUMENTS .............1

       A.     Plaintiffs Cannot Sidestep Rule 12(b)(6) With Alternative
              Pleading. ................................................................................................1

       B.     The Opposition Confirms That The Warranty Claims Fail. .................2

              1.       Plaintiffs do not allege a breach during the warranty
                       period...........................................................................................2

                       i.        Plaintiffs’ “breach upon delivery” argument has been
                                 rejected. .............................................................................3

                       ii.       Plaintiffs misconstrue the MMWA. .................................4

              2.       Five Plaintiffs confirm that they fail to allege
                       unmerchantability........................................................................6

              3.       The Florida and California Plaintiffs admit they cannot
                       allege privity. ..............................................................................7

              4.       The Texas and Pennsylvania Plaintiffs’ attempts to
                       excuse their untimely claims should be rejected. .......................8

              5.       Angemi’s notice argument ignores Texas law. ...........................9

              6.       Jordan’s express warranty claims fail on multiple levels. ..........9

       C.     Plaintiffs Concede All Consumer Fraud Claims Based On
              Affirmative Representations Should Be Dismissed. ...........................11

       D.     Plaintiffs Cannot Evade Dismissal Of Their Omission-Based
              Consumer Fraud Claims. .....................................................................11

              1.       The NJCFA claim alleges no factual connection to New
                       Jersey. ........................................................................................12


                                                         i
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 3 of 23 PageID: 790




                2.       The California Plaintiffs’ equitable claims should be
                         dismissed because they fail to allege that legal remedies
                         are inadequate. ..........................................................................12

                3.       The FDUTPA claim alleges no unlawful acts by
                         Samsung in Florida. ..................................................................13

                4.       The GBL § 350 and California FAL claims identify no
                         advertising. ................................................................................14

 III.   CONCLUSION..............................................................................................15




                                                         ii
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 4 of 23 PageID: 791




                                   TABLE OF AUTHORITIES

 Cases

 Alongi v. Bombardier Rec. Prods.,
   2013 WL 718755 (E.D. Mich. Feb. 27, 2013) .......................................................6

 Amato v. Subaru of America, Inc.,
  2019 WL 6607148 (D.N.J. Dec. 5, 2019) ..............................................................3

 Andersen v. Thor Motor Coach, Inc.,
  402 F. Supp. 3d 467 (N.D. Ind. 2019) ....................................................................5

 Baleares Link Exp., S.L. v. GE Engine Servs.-Dallas, LP,
  335 S.W.3d 833 (Tex. App. 2011) .........................................................................8

 Barlow v. Pfizer Inc.,
  2013 WL 12171892 (W.D. Tex. Feb. 22, 2013) ....................................................9

 Brand v. KSF Acquisition Corp.,
   2023 WL 3225409 (S.D. Cal. Mar. 17, 2023) ......................................................13

 Cardenas v. Toyota Motor Corp.,
  418 F. Supp. 3d 1090 (S.D. Fla. 2019) ...................................................................7

 Ceus v. N.J. Lawyers Serv., LLC,
  2021 WL 4173839 (D.N.J. Sep. 14, 2021) ...........................................................15

 Cohen v. Subaru of Am., Inc.,
  2022 WL 714795 (D.N.J. Mar. 10, 2022) ..............................................................9

 DeFillippo v. Whirlpool Corp.,
  2019 WL 4127162 (D.N.J. Aug. 30, 2019) ............................................................4

 Drumheller v. Johnson & Johnson,
  2021 WL 1853407 (E.D. Pa. May 10, 2021) .........................................................8

 Dzielak v. Whirlpool Corp.,
  26 F. Supp. 3d 304 (D.N.J. 2014) ...........................................................................9

 Eli Lilly & Co. v. Tyco Integrated Sec., LLC.,
   2015 WL 11251732 (S.D. Fla. Feb. 10, 2015) .....................................................14

                                                      iii
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 5 of 23 PageID: 792




 Glob. Quest, LLC v. Horizon Yachts, Inc.,
  849 F.3d 1022 (11th Cir. 2017) ..............................................................................7

 Guzman v. Polaris Indus.,
  49 F.4th 1308 (9th Cir. 2022) ...............................................................................12

 Hakim-Daccach v. Knauf Int’l GmbH,
  2017 WL 5634629 (S.D. Fla. Nov. 21, 2017) ......................................................14

 Hardt v. Chrysler Grp. LLC,
  2015 WL 12683963 (C.D. Cal. Mar. 16, 2015) .....................................................4

 In re Am. Fin. Res., Inc.,
   2023 WL 3963804 (D.N.J. Mar. 29, 2023) ..........................................................13

 In re Facebook PPC Advert. Litig.,
   2010 WL 3341062 (N.D. Cal. Aug. 25, 2010) .....................................................15

 In re Sony Grand WEGA KDF-E A10/A20 Series Rear Projection HDTV TV Litig.,
   758 F. Supp. 2d 1077 (S.D. Cal. 2010) ................................................................15

 In re Vanguard Chester Funds Litig.,
   2023 WL 8091999 (E.D. Pa. Nov. 20, 2023) .......................................................13

 Klaehn v. Cali Bamboo LLC,
   2022 WL 1830685 (9th Cir. June 3, 2022)...........................................................12

 Kolle v. Mainship Corp.,
  2006 WL 1085067 (E.D.N.Y. Apr. 20, 2006) ........................................................5

 Lawlor v. ESPN Scouts, LLC,
   2011 WL 675215 (D.N.J. Feb. 16, 2011) ...............................................................2

 Lisner v. Sparc Grp. LLC,
   2021 WL 6284158 (C.D. Cal. Dec. 29, 2021)......................................................13

 Manchanda v. Navient Student Loans & Educ. Credit Mgmt. Corp.,
  2020 WL 5802238 (S.D.N.Y. Sep. 29, 2020) ......................................................15

 McCoy v. Samsung Elecs. Am., Inc.,
  2023 WL 6140641 (D.N.J. Sep. 20, 2023) .............................................................7


                                                       iv
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 6 of 23 PageID: 793




 McGoveran v. Amazon Web Servs.,
  2023 WL 2683553 (D. Del. Mar. 29, 2023) .........................................................15

 Mexia v. Rinker Boat Co.,
  174 Cal. App. 4th 1297 (2009) ...............................................................................4

 Miller v. Ford Motor Co.,
  620 F. Supp. 3d 1045 (E.D. Cal. Aug. 9, 2022) .....................................................7

 Mora v. Angiodynamics, Inc.,
  2022 WL 16640021 (S.D. Tex. Sep. 20, 2022) ......................................................9

 N.J. Coal. of Auto. Retailers, Inc. v. Mazda Motor of Am., Inc.,
   2023 WL 2263741 (D.N.J. Feb. 28, 2023) ...........................................................15

 Padilla v. Porsche Cars N. Am., Inc.,
  391 F. Supp. 3d 1108 (S.D. Fla. 2019) ...................................................................7

 Riad v. Dey Equine Veterinarians, P.A.,
   2023 WL 7648714 (D.N.J. Nov. 15, 2023) ..........................................................12

 Robertson v. Fleetwood Travel Trailers of Cal., Inc.,
  144 Cal. App. 4th 785 (2006) ...............................................................................11

 Rokicsak v. Colony Marine Sales & Serv.,
  219 F. Supp. 2d 810 (E.D. Mich. 2002) .................................................................5

 Rosa v. Am. Water Heater Co.,
  177 F. Supp. 3d 1025 (S.D. Tex. 2016)..................................................................5

 Spindler v. Gen. Motors, LLC,
   616 F. Supp. 3d 943 (N.D. Cal. 2022)..................................................................11

 Stevenson v. Mazda Motor of Am., Inc.,
   2015 WL 3487756 (D.N.J. June 2, 2015) ..............................................................3

 Stewart v. Electrolux Home Prod., Inc.,
   304 F. Supp. 3d 894 (E.D. Cal. 2018) ....................................................................7

 Stratis v. BMW of N. Am., LLC,
   2023 WL 3092188 (D.N.J. Apr. 26, 2023).............................................................8


                                                       v
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 7 of 23 PageID: 794




 Talley v. GM, LLC,
   2022 WL 958467 (D. Del. Mar. 30, 2022) .............................................................4

 Toretto v. Donnelley Fin. Sols., Inc.,
   583 F. Supp. 3d 570 (S.D.N.Y. 2022) ..................................................................14

 Weske v. Samsung Elecs. Am., Inc.,
  42 F. Supp. 3d 599 (D.N.J. 2014) ...........................................................................3

 Wesley v. Samsung Elecs. Am., Inc.,
  2021 WL 5771738 (D.N.J. Dec. 3, 2021) ............................................................10

 Yagudayev v. BMW of N. Am., LLC,
   2020 WL 6689799 (D.N.J. Nov. 13, 2020) ............................................................8

 Statutes

 15 U.S.C. § 2308 ....................................................................................................4, 5

 N.J. Stat. § 12A:2-725................................................................................................8

 Rules

 Fed. R. Civ. Proc. 12(b)(6) ............................................................................. 1, 2, 15

 Fed. R. Civ. Proc. 12(g)(2) ......................................................................................15




                                                            vi
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 8 of 23 PageID: 795




                        I. PRELIMINARY STATEMENT

       Plaintiffs’ Opposition is evasive. They do not contest that each claim in the

 SAC must be adequately alleged on its own under Rule 12(b)(6).1 Yet they try to

 evade this rule and their failure to allege the elements of their claims by arguing that,

 because the Court deferred choice of law issues until later in the case, Rule 12(b)(6)

 challenges should be put on hold too. The argument is sleight of hand. Separate and

 apart from any choice of law issue, each claim in the SAC must stand independently,

 even if alleged under alternative state law. By not addressing several of Samsung’s

 arguments, Plaintiffs confirm that the Motion should be granted for three reasons.

       First, the Opposition confirms that the warranty claims fail, including because

 Plaintiffs allege no breach during the warranty period. Second, Plaintiffs concede

 that the consumer fraud claims based on affirmative representations are deficient.

 Third, no matter whether they are pled in the alternative, the omission-based claims

 fail under the laws Plaintiffs invoke. Thus, the SAC should be dismissed.2

     II. PLAINTIFFS FAIL TO REBUT THE MOTION’S ARGUMENTS

 A. Plaintiffs Cannot Sidestep Rule 12(b)(6) With Alternative Pleading.

       Samsung showed that, regardless of whether choice of law issues have been

 1
  Defined terms have the same meaning as those defined in the Motion to Dismiss.
 Unless otherwise indicated, all emphases are added, and all citations are omitted.
 2
  All Counts in the SAC should be dismissed except Count XIV, violation of GBL §
 349 limited to an omission claim. Although this claim lacks merit, it is the only one
 plausibly alleged based on the Court’s previous ruling.

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 9 of 23 PageID: 796




 deferred, Plaintiffs still cannot evade Rule 12(b)(6) simply because they allege

 different state law claims in the alternative. (Mot. at 29-31). Plaintiffs provide no

 substantive response because they have none. The Motion does not “target[] claims

 and issues that the Court has already resolved in Plaintiffs’ favor” (Opp. at 6), and

 Plaintiffs provide no support for this assertion. Rather, the Motion presents

 unresolved threshold issues based on the established rule that each alternative claim

 must be sufficient on its own. (Mot. at 29-31). Plaintiffs provide no contrary

 authority, and their perfunctory attempts to evade Samsung’s dismissal arguments

 should be rejected. See Lawlor v. ESPN Scouts, LLC, 2011 WL 675215, at *2 (D.N.J.

 Feb. 16, 2011) (perfunctory and unsupported arguments are waived).

 B. The Opposition Confirms That The Warranty Claims Fail.

       Samsung presented six reasons the warranty claims fail. (Mot. at 12-26).

 Plaintiffs rebut none of them.

       1. Plaintiffs do not allege a breach during the warranty period.

       All warranty claims in the SAC fail because no Plaintiff alleges facts showing

 a breach within the one-year warranty period. (Mot. at 13-18). Plaintiffs do not

 dispute that the express and implied warranty period is one year. (Opp. at 7-10).

 They also do not dispute their failure to allege (i) a temperature issue during the

 warranty period, (ii) that they contacted Samsung during the warranty period, or (iii)

 that Samsung refused coverage. (Id.). Instead, Plaintiffs argue that Samsung


                                           2
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 10 of 23 PageID: 797




 somehow breached the implied warranty of merchantability upon “delivery,” and

 that Samsung cannot “disclaim” implied warranties under the Magnuson-Moss

 Warranty Act (“MWWA”). (Id.).3 Both arguments misapply prevailing law.

              i. Plaintiffs’ “breach upon delivery” argument has been rejected.

       Rather than address Samsung’s arguments head-on (Mot. at 13-18), Plaintiffs

 pivot and claim for the first time that “Samsung violated the implied warranty of

 merchantability when it delivered Refrigerators to Plaintiffs that included a latent

 defect[.]” (Opp. at 8). But this argument ignores that Plaintiffs allege purchase from

 third-party retailers, meaning Samsung did not “deliver” anything. (SAC ¶¶ 6, 15,

 23, 38, 46, 57, 71, 80). Plaintiffs’ “breach on delivery” argument also contradicts

 settled law in this District. See, e.g., Amato v. Subaru of America, Inc., 2019 WL

 6607148, at *7 (D.N.J. Dec. 5, 2019) (“[C]ourts have found that ‘latent defects

 discovered after the term of the warranty are not actionable’” absent

 unconscionability); Stevenson v. Mazda Motor of Am., Inc., 2015 WL 3487756, at

 *12 (D.N.J. June 2, 2015) (explaining that “numerous cases in this District” have

 reached the same conclusion for breach of implied warranty claims).4

       The authorities Plaintiffs cite did not analyze the relevant issue (Henderson),

 3
  Other than conclusory recitations, Jordan provides no argument showing that his
 express warranty claims allege a breach within the warranty period. (Opp. at 16-19).
 4
  See also Weske v. Samsung Elecs. Am., Inc., 42 F. Supp. 3d 599, 616 (D.N.J. 2014)
 (“[A]s the Defect manifested itself in Weske’s Refrigerator after the one-year point,
 Weske’s breach of implied warranty claim fails.”).

                                           3
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 11 of 23 PageID: 798




 did not apply law from this District (Ehrlich, Keegan, Majdipour),5 or support

 Samsung’s position. (Opp. at 8-9). For example, in DeFillippo v. Whirlpool Corp.,

 2019 WL 4127162, at *13 (D.N.J. Aug. 30, 2019), the court allowed two plaintiffs’

 implied warranty claims because their refrigerators manifested the alleged defect

 within the one-year warranty period. But for the third plaintiff whose refrigerator did

 not manifest the defect during the warranty period, the court dismissed. Id. Plaintiffs

 ignore the rulings in the cases they cite. Their argument would render the one-year

 limitation on implied warranties meaningless, is against the weight of authority in

 this District, and should be rejected.

              ii. Plaintiffs misconstrue the MMWA.

       Plaintiffs also argue that—even though they do not allege any breach during

 the warranty period or that Samsung refused warranty service—these limitations do

 not apply under the MMWA. (See Opp. at 9-10). Plaintiffs are incorrect.

       First, the warranties for Plaintiffs’ refrigerators do not violate the MMWA.

 Under 15 U.S.C. § 2308(b), “implied warranties may be limited in duration to the


 5
   All three cases applied a unique California statute called the Song-Beverly
 Consumer Warranty Act and the decision in Mexia v. Rinker Boat Co., 174 Cal. App.
 4th 1297 (2009). Other courts disagree that Mexia is an accurate statement of
 California law. See Talley v. GM, LLC, 2022 WL 958467, at *2 (D. Del. Mar. 30,
 2022) (evaluating California law); Hardt v. Chrysler Grp. LLC, 2015 WL 12683963,
 at *10-11 (C.D. Cal. Mar. 16, 2015) (criticizing Mexia). In any event, Plaintiffs cite
 no decision applying Mexia to non-California claims in any jurisdiction, let alone in
 this District. Even if Mexia applied to Jordan’s and Alejandro’s California implied
 warranty claims only, those claims still fail for the reasons below.

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 12 of 23 PageID: 799




 duration of a written warranty of reasonable duration.” That is exactly what the

 warranties here do. (See D.E. 45-2, Walsh Cert. Exs. 1-8). Plaintiffs do not challenge

 the warranty duration or the one-year warranty period. They also cite no authority

 finding that comparable warranty terms violate the MMWA.6

       Second, even if there were a violation (there is not), it would not allow

 Plaintiffs to revive their state law warranty claims. “15 U.S.C. § 2308 does not revive

 a state law breach of implied warranty claim, but instead permits a buyer to pursue

 a federal [MMWA] claim against a supplier if the supplier disclaims an implied

 warranty while [] making a written warranty[.]” Rokicsak v. Colony Marine Sales &

 Serv., 219 F. Supp. 2d 810, 817 (E.D. Mich. 2002); accord Rosa v. Am. Water Heater

 Co., 177 F. Supp. 3d 1025, 1048 (S.D. Tex. 2016) (violations of § 2308 afford a

 federal claim under § 2310(d), not implied warranty claims). In Kolle v. Mainship

 Corp., 2006 WL 1085067, at *2-5 (E.D.N.Y. Apr. 20, 2006), for example, the court

 rejected plaintiff’s attempt to assert state implied warranty claims based on § 2308,



 6
  Plaintiffs overstate Andersen v. Thor Motor Coach, Inc., 402 F. Supp. 3d 467 (N.D.
 Ind. 2019). There, a written warranty for a motorhome limited the “scope of
 coverage” under the implied warranty of merchantability “to those portions of your
 motorhome covered by this limited warranty.” Id. at 471. The written warranty,
 however, excluded coverage for a number of motorhome components. Id. Thus, the
 written warranty purported to delete the implied warranty of merchantability
 wholesale for those components. The court found that this scope deletion violated
 15 U.S.C. § 2308(a). Id. at 478, 481. Nothing comparable is shown here. Samsung’s
 warranties do not purport to eliminate the implied warranty of merchantability for
 Plaintiffs’ refrigerators or their component parts.

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 13 of 23 PageID: 800




 because the claims arose (and failed) under state law. See also Alongi v. Bombardier

 Rec. Prods., 2013 WL 718755, at *12 (E.D. Mich. Feb. 27, 2013) (“The MMWA

 does not aid a plaintiff’s claim under state law.”).

       The same is true here. Plaintiffs assert no MMWA claim. They show no

 MMWA violation. They ignore authorities around the country finding that a

 purported MMWA violation does not support state warranty claims. And they do not

 address the several decisions Samsung cited that dismissed implied warranty claims

 based on virtually identical warranty language. (Mot. at 14, 16 n.10). Plaintiffs’

 specious MMWA argument should be rejected.

       2. Five Plaintiffs confirm that they fail to allege unmerchantability.

       Saghy, Crawford, Butler, Jordan, and Alejandro also fail to allege

 unmerchantability because their refrigerators performed for years with no issue, and

 the symptoms they allegedly experienced during the warranty period did not prevent

 ordinary use. (Mot. at 18-21).

       Plaintiffs respond with a strawman, arguing that refrigerators that fail “to

 maintain temperatures cold enough to store food” are not fit for ordinary use. (Opp.

 at 10). But this argument ignores Plaintiffs’ own allegations, which do not show their

 refrigerators failed to store food at cold temperatures during the warranty period.

 (Mot. at 18-21). When, as here, a product does not manifest the purported defect

 “shortly after purchase,” courts in this District reject unmerchantability claims. See,



                                            6
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 14 of 23 PageID: 801




 e.g., McCoy v. Samsung Elecs. Am., Inc., 2023 WL 6140641, at *6-7 (D.N.J. Sep.

 20, 2023) (citing authorities and dismissing implied warranty claims following “the

 usual requirement that the defect be one that manifests shortly after purchase”).

 There is no reason to treat Plaintiffs’ claims differently.

       3. The Florida and California Plaintiffs admit they cannot allege privity.

       Privity is required to state an implied warranty claim under Florida and

 California law but does not exist when plaintiffs buy from a third-party retailer.

 (Mot. at 21-22). Plaintiffs concede they lack privity with Samsung but argue their

 Florida and California claims may proceed anyway. (Opp. at 11-12). Not so.

       First, Plaintiffs’ argument that Florida has a third-party beneficiary exception

 under Glob. Quest, LLC v. Horizon Yachts, Inc., 849 F.3d 1022 (11th Cir. 2017), has

 been rejected repeatedly.7 Second, the Ninth Circuit has considered and rejected a

 third-party beneficiary exception under California common law.8 Third, the SAC

 does not allege Plaintiffs are intended beneficiaries of any contract between

 Samsung and any third party. See McCoy, 2023 WL 6140641, at *7 n.10 (“Even

 assuming this rule applies, Plaintiffs do not identify any applicable contract between

 7
  See, e.g., Cardenas v. Toyota Motor Corp., 418 F. Supp. 3d 1090, 1110 (S.D. Fla.
 2019) (distinguishing and rejecting the same authority Plaintiffs rely on under
 materially identical circumstances); Padilla v. Porsche Cars N. Am., Inc., 391 F.
 Supp. 3d 1108, 1118-19 (S.D. Fla. 2019) (similar).
 8
   See Stewart v. Electrolux Home Prod., Inc., 304 F. Supp. 3d 894, 915 (E.D. Cal.
 2018) (finding Ninth Circuit foreclosed a third-party beneficiary exception); Miller
 v. Ford Motor Co., 620 F. Supp. 3d 1045, 1064 (E.D. Cal. Aug. 9, 2022) (same).

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 15 of 23 PageID: 802




 Samsung and [the retailer] of which they are the third party beneficiaries.”). Fourth,

 Plaintiffs’ argument that privity is not required for an implied warranty claim under

 the California SBA is irrelevant, because Samsung did not seek dismissal of the SBA

 claim on privity grounds—only the common law implied warranty claim. (See Mot.

 at 22 (seeking dismissal of the “implied warranty claims in Count V”)).

       4. The Texas and Pennsylvania Plaintiffs’ attempts to excuse their
          untimely claims should be rejected.

       Angemi and Saghy admit their implied warranty claims are untimely but argue

 for tolling. (Opp. at 13-14). The argument should be rejected for three reasons. First,

 Pennsylvania law “is well-settled that breach of warranty claims are not subject to

 the discovery rule.” Drumheller v. Johnson & Johnson, 2021 WL 1853407, at *13

 (E.D. Pa. May 10, 2021).9 Second, as Plaintiffs’ own authority states, Texas law

 “restrict[s] the discovery rule to exceptional cases” in the implied warranty context.

 Baleares Link Exp., S.L. v. GE Engine Servs.-Dallas, LP, 335 S.W.3d 833, 837-38

 (Tex. App. 2011). Angemi admittedly discovered his alleged issue within the

 limitations period (in 2018) but chose not to act until November 2022, meaning this


 9
   New Jersey law is similar. Plaintiffs cite Yagudayev v. BMW of N. Am., LLC, 2020
 WL 6689799, at *11 (D.N.J. Nov. 13, 2020), which considered an express warranty
 covering future performance under N.J. Stat. § 12A:2-725. But “Section 2-725’s
 tolling provision does not apply to claims for breach of implied warranty because
 ‘[i]mplied warranties, by their very nature, cannot extend to future performance[.]’”
 Stratis v. BMW of N. Am., LLC, 2023 WL 3092188, at *9-10 (D.N.J. Apr. 26, 2023)
 (Arleo, J.). In other words, Plaintiffs cite inapposite authority and ignore that tolling
 cannot save their implied warranty claims. Id.

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 16 of 23 PageID: 803




 could not possibly be an exceptional case. (SAC ¶¶ 84, 86). Third, Plaintiffs fail to

 allege that Samsung knew about any purported “defect” in July 2016 (id. ¶ 80), let

 alone facts showing active concealment. See Cohen v. Subaru of Am., Inc., 2022 WL

 714795, at *15 (D.N.J. Mar. 10, 2022) (“‘[N]ondisclosure does not constitute active

 concealment.’”). Thus, Plaintiffs’ tolling arguments have no legal or factual basis.

       5. Angemi’s notice argument ignores Texas law.

       Angemi’s implied warranty claims also fail because he concedes that he never

 contacted SEA or SEC about his refrigerator before filing suit. (Opp. at 14-16). He

 argues that Samsung’s purported general knowledge of the “defect” saves his claims.

 (Id.). But this position is incorrect. Angemi cites Dzielak v. Whirlpool Corp., where

 the complaint attached pre-suit demand letters on behalf of “all other persons

 similarly situated.” 26 F. Supp. 3d at 323 n.10. But even if that satisfied Texas law

 (it does not),10 the SAC attaches no pre-suit demand letters on behalf of “others.”

 Thus, the Opposition confirms why Angemi’s warranty claims fail.11

       6. Jordan’s express warranty claims fail on multiple levels.

       The Court ordered that “[a]ny future pleading must allege when named

 10
   See Mora v. Angiodynamics, Inc., 2022 WL 16640021, at *4 (S.D. Tex. Sep. 20,
 2022) (“Any notice that Defendants may have received from third parties does not
 satisfy her pre-suit notice obligation under Texas law.”).
 11
   Angemi’s reliance on Barlow v. Pfizer Inc., 2013 WL 12171892 (W.D. Tex. Feb.
 22, 2013) is misplaced. There, the court found that notice would have been
 “redundant” given the unchangeable properties of a pharmaceutical. Id. at *7. Here,
 Samsung easily could have tried to fix Angemi’s refrigerator if he had called.

                                           9
Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 17 of 23 PageID: 804




 Plaintiffs contacted Defendants concerning the alleged defect.” (D.E. 27 at 8 n.14).

 Plaintiffs failed to comply, and Jordan’s attempt to evade dismissal of his express

 warranty claims should be rejected.

       First, all Jordan’s express warranty claims fail because, again, he has not

 alleged facts showing a breach during the warranty period. (Mot. 13-18).

       Second, Jordan agrees that, to plead an express warranty claim under

 California law, he must allege reliance on the warranty at purchase. (Mot. at 24-25).

 Yet the SAC merely recites the generic statement that Jordan “relied upon

 Samsung’s representations in deciding to purchase the Refrigerators” (SAC ¶ 205),

 without specifying any statement, where it appeared, or “any other details

 demonstrating that [he was] aware of the warranty [before] purchase.” Wesley v.

 Samsung Elecs. Am., Inc., 2021 WL 5771738, at *6 (D.N.J. Dec. 3, 2021).12

       Third, to state an express warranty claim under the SBA, Jordan must have

 afforded Samsung a “reasonable number” of repair attempts within the warranty

 period. (Mot. at 25-26). Jordan does not contest the service records for his

 refrigerator, or that the Court should consider them. (Opp. at 18-19). As shown,

 Jordan contacted SEA on January 10, 2021 because his refrigerator supposedly



 12
   Jordan’s attempt to plead reliance through a “typo” (Opp. at 17 n.4), by alleging
 he relied on express warranties concerning emissions (having nothing to do with this
 case), fails. (SAC ¶ 282). Even if the allegation related to this case (it does not), it is
 unsupported and conclusory.

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 18 of 23 PageID: 805




 would not “power[] on at all”—not some temperature issue. (D.E. 45-4, Bahn Cert.,

 Ex. A). Following service on January 14, 2021, Jordan never sought warranty service

 for the unit again. (Id.). Ignoring this completely, Jordan recites the same vague

 conclusion that “Samsung did not attempt” further repairs “after an initially

 unsuccessful effort.” (Opp. at 18-19).13 But he alleges no supporting facts as ordered,

 and the undisputed records contradict his allegations.

 C. Plaintiffs Concede All Consumer Fraud Claims Based On Affirmative
    Representations Should Be Dismissed.

       Plaintiffs “reiterate that their consumer fraud claims are based upon

 Defendants’ omissions, not affirmative misrepresentations.” (Opp. at 19). Thus,

 Plaintiffs agree that all consumer fraud claims in the SAC based on purported

 misrepresentations should be dismissed. (Mot. at 26-29).

 D. Plaintiffs Cannot Evade Dismissal Of Their Omission-Based Consumer
    Fraud Claims.

       Samsung acknowledged that the Court deferred ruling on choice of law and

 standing issues, and thus did not seek dismissal on those grounds. (Mot. at 29-31).

 Instead, the Motion explained why Plaintiffs’ separately alleged consumer fraud

 claims are each deficient. (Id.). Plaintiffs offer no response showing that they can


 13
   Jordan cites Robertson v. Fleetwood Travel Trailers of Cal., Inc., 144 Cal. App.
 4th 785, 799 (2006) and Spindler v. Gen. Motors, LLC, 616 F. Supp. 3d 943, 948-49
 (N.D. Cal. 2022). But each case recognized that there must be more than one
 opportunity to repair the nonconformity. No such facts are alleged here, nor could
 they be. (See D.E. 45-4, Bahn Cert., Ex. A).

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 19 of 23 PageID: 806




 sidestep Rule 12(b)(6). (Opp. at 20-21). The Opposition thus confirms why the Court

 should dismiss Plaintiffs’ claims, which are deficient under the laws they invoke.

       1. The NJCFA claim alleges no factual connection to New Jersey.
       As shown, to state a NJCFA claim, there must be factual nexus between the

 transactions or alleged deceptive acts and New Jersey. (Mot. at 31). The SAC

 identifies no unlawful act in New Jersey, no transaction in New Jersey, and no injury

 in New Jersey. (Id. at 32). Plaintiffs also point to no factual nexus with New Jersey

 that would allow them to invoke the NJCFA. (Opp. at 20-21). “By failing to respond

 to Defendants’ arguments, Plaintiff[s] ha[ve] conceded them.” Riad v. Dey Equine

 Veterinarians, P.A., 2023 WL 7648714, at *9 (D.N.J. Nov. 15, 2023).14

       2. The California Plaintiffs’ equitable claims should be dismissed
          because they fail to allege that legal remedies are inadequate.

       Plaintiffs concede the SAC alleges legal remedies are available, but they argue

 they may plead their equitable California consumer fraud claims anyway. (Opp. at

 21-22). Ninth Circuit precedent in Sonner and subsequent cases foreclose this

 argument: when legal remedies are available, plaintiffs cannot “also maintain

 equitable claims under the UCL[,] [FAL] and CLRA in federal court.” See Guzman

 v. Polaris Indus., 49 F.4th 1308, 1312 (9th Cir. 2022); Klaehn v. Cali Bamboo LLC,

 2022 WL 1830685, at *3 (9th Cir. June 3, 2022) (similar).


 14
  Plaintiffs say they will add New Jersey parties later (Opp. at 21), but they did not
 move to amend the SAC. Thus, the argument confirms why the NJCFA claim fails.

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 20 of 23 PageID: 807




       Plaintiffs argue that “the weight of authority holds” that the Ninth Circuit’s

 decision in “Sonner does not apply at the pleading stage.” (Opp. at 22). But that is a

 misstatement, as “the majority of district courts have held that Sonner’s reasoning

 applies at the pleading stage.” Lisner v. Sparc Grp. LLC, 2021 WL 6284158, at *8

 (C.D. Cal. Dec. 29, 2021); accord Brand v. KSF Acquisition Corp., 2023 WL

 3225409, at *4 (S.D. Cal. Mar. 17, 2023) (finding similarly). Plaintiffs also fail to

 address the several decisions in this Circuit that have applied Sonner at the pleading

 stage and dismissed these same equitable claims. (See Mot. at 34 (collecting

 authorities)). This Court should as well.15

       3. The FDUTPA claim alleges no unlawful acts by Samsung in Florida.

       As shown, the FDUTPA claim fails because Plaintiffs do not allege that

 Samsung committed any deceptive act in Florida or specify what that act supposedly

 was. (Mot. at 35). Plaintiffs respond by saying that they allege “Samsung concealed

 material facts in connection with products marketed and sold in Florida.” (Opp. at

 23). But they allege no facts showing active concealment anywhere (let alone in

 Florida), any SEA or SEC marketing (let alone in Florida), or anything SEA or SEC

 sold them in Florida (as opposed to a third-party retailer). (SAC ¶ 38). In re Am. Fin.

 Res., Inc., 2023 WL 3963804, at *10 (D.N.J. Mar. 29, 2023) (dismissing FDUTPA


 15
   Eight days before Plaintiffs’ opposition, another district court in this Circuit
 applied Sonner at the pleading stage to dismiss a UCL claim. See In re Vanguard
 Chester Funds Litig., 2023 WL 8091999, at *15 (E.D. Pa. Nov. 20, 2023).

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 21 of 23 PageID: 808




 claim because defendant’s alleged conduct occurred at its New Jersey headquarters).

       Recognizing the deficiency, Plaintiffs argue that “[c]ourts consistently find

 FDUTPA violations sufficiently pleaded under similar circumstances.” (Opp. at 23).

 But they cite decisions (Ponzio, Cardenas, Morano) that did not consider the

 argument raised here,16 and their contention that SEA’s and SEC’s conduct

 somehow simultaneously occurred “in both New Jersey and Florida” (Opp. at 24)

 ignores their own allegations, which fail to specify particular acts in New Jersey or

 Florida, let alone both at the same time. (See SAC ¶¶ 94, 111-113, 117-118, 185-

 186, 311-312). The FDUTPA claim thus alleges no conduct by Samsung in Florida

 and should be dismissed.

       4. The GBL § 350 and California FAL claims identify no advertising.

       Samsung showed that Plaintiffs’ GBL § 350 and California FAL claims fail

 because the SAC does not identify any advertising for Plaintiffs’ refrigerators. (Mot.

 at 36-37). Plaintiffs offer two rebuttals, neither of which has merit. First, they argue

 “that Samsung falsely advertised that the Refrigerators were of merchantable quality

 and fit for their intended purpose[.]” (Opp. at 24-25). But Plaintiffs identify no ads


 16
    Plaintiffs also cite Eli Lilly & Co. v. Tyco Integrated Sec., LLC., 2015 WL
 11251732 (S.D. Fla. Feb. 10, 2015). But there, plaintiff alleged facts showing how
 defendant’s conduct “actually occurred in, or, at a minimum, flowed from business
 practices occurring within the State of Florida.” Id. at *5. Here, the SAC specifies
 no conduct or business practices performed in Florida at all. See, e.g., Toretto v.
 Donnelley Fin. Sols., Inc., 583 F. Supp. 3d 570, 606 (S.D.N.Y. 2022) (“Braun must
 plausibly allege that at least some improper acts occurred in Florida.”).

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 22 of 23 PageID: 809




 that said this, or any ads period. (Id.). Nor do they cite any authority that warranties

 implied by law constitute false advertisements. Second, Plaintiffs argue that

 fraudulent omissions may be alleged with less specificity. (Opp. at 25). But the

 argument sidesteps the point: GBL § 350 and California FAL claims require reliance

 on false advertising, yet Plaintiffs allege none. See, e.g., In re Sony Grand WEGA

 KDF-E A10/A20 Series Rear Projection HDTV TV Litig., 758 F. Supp. 2d 1077,

 1093-94 (S.D. Cal. 2010) (dismissing FAL claim for failure to allege reliance on any

 specific advertising); Manchanda v. Navient Student Loans & Educ. Credit Mgmt.

 Corp., 2020 WL 5802238, at *5 (S.D.N.Y. Sep. 29, 2020) (dismissing GBL § 350

 claim for same reason).17 Thus, the Opposition confirms why dismissal is required.18

                                 III. CONCLUSION

       Samsung asks the Court to dismiss Plaintiffs’ SAC, with the limited exception

 of the GBL § 349 claim based on omission.

 17
    Plaintiffs also cite In re Facebook PPC Advert. Litig., 2010 WL 3341062, at *9
 (N.D. Cal. Aug. 25, 2010). But the decision did not consider a GBL § 350 or FAL
 claim and therefore has no application.
 18
   Finally, Plaintiffs try to fault Samsung for raising a “new” argument. (Opp. at 24).
 But related arguments in successive motions to dismiss are permissible, and
 Samsung moved to dismiss the GBL and FAL claims for lack of specificity before.
 (D.E. 17-1). See McGoveran v. Amazon Web Servs., 2023 WL 2683553, at *5 (D.
 Del. Mar. 29, 2023) (raising related arguments in successive motions to dismiss does
 not trigger Rule 12(g)(2)). Regardless, it makes sense to consider all arguments in a
 Rule 12(b)(6) motion, because the alternative is a motion for judgment on the
 pleadings raising the same issues. See N.J. Coal. of Auto. Retailers, Inc. v. Mazda
 Motor of Am., Inc., 2023 WL 2263741, at *5 n.3 (D.N.J. Feb. 28, 2023); Ceus v. N.J.
 Lawyers Serv., LLC, 2021 WL 4173839, at *1 n.2 (D.N.J. Sep. 14, 2021).

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Case 2:22-cv-02828-MCA-AME Document 55 Filed 12/19/23 Page 23 of 23 PageID: 810




                                    Respectfully submitted,

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